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                ORAL ARGUMENT HELD MAY 24, 2023
                PANEL DECISION ISSUED JULY 25, 2023

                               No. 23-1094

                 UNITED STATES COURT OF APPEALS
                      FOR THE THIRD CIRCUIT

     PORT HAMILTON REFINING AND TRANSPORTATION, LLLC,

                                Petitioner,

                                       v.

              U.S. ENVIRONMENTAL PROTECTION AGENCY,

                               Respondent.


       ON PETITION FOR REVIEW FROM A DECISION OF THE
     UNITED STATES ENVIRONMENTAL PROTECTION AGENCY

                 PETITION FOR PANEL REHEARING



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                      INTRODUCTION AND SUMMARY

      Respondent United States Environmental Protection Agency (“EPA”)

requests panel rehearing on a limited aspect of the Court’s decision in this case

(slip opinion attached hereto). EPA does not seek reconsideration of the Court’s

vacatur of EPA’s determination that the petroleum refinery on the Island of St.

Croix (“Refinery”) must obtain a Prevention of Significant Deterioration permit

under Section 165 of the Clean Air Act (“CAA”), 42 U.S.C. § 7475, prior to

resuming refining operations. Rather, EPA respectfully petitions this Court to

remove a non-outcome-determinative portion of the slip opinion at pages 14-15

that is premised on a reading of 42 U.S.C. § 7491 that is incorrect and inconsistent

with the Court’s previous discussion of Section 7491 in National Parks

Conservation Ass’n v. EPA, 803 F.3d 151, 154 (3d Cir. 2015) (hereafter “National

Parks”). EPA additionally requests that the Court correct a few discrete minor

misstatements within the statutory and factual background portions of the opinion

that have the potential to cause confusion for the regulated community.

                                 BACKGROUND

I.    Statutory and Regulatory Background

      The CAA’s new source review program is a preconstruction review and

permitting program for major stationary sources of air pollutant emissions (e.g.,



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power plants, factories, refineries) that is intended to prevent increased emissions

from new and modified sources that might significantly worsen air quality or

interfere with efforts to achieve attainment of the NAAQS. The program requires

each new stationary source of air pollution to obtain one of two types of permits

depending on whether the geographic area is in attainment with the NAAQS. The

first type of permit, which is at issue in this case, is a Prevention of Significant

Deterioration (PSD) permit and applies to certain stationary sources of air pollution

to be built in designated “attainment” areas. The second type of permit is a

Nonattainment New Source Review (NNSR) permit and applies to certain

stationary sources of air pollution to be built in areas that do not meet the NAAQS.

         Entirely separate from the new source review program is a different Clean

Air Act program to eliminate manmade visibility impairment in certain national

parks and wilderness areas. 42 U.S.C. § 7491. EPA implements this program,

which is referred to as the Regional Haze Program, through regulations

promulgated at 40 C.F.R. Part 51, Subpart P. Under 42 U.S.C. § 7491, those

regulations must, among other things, “require[] that each major stationary source

which is in existence on August 7, 1977, but which has not been in operation for

more than fifteen years as of such date, and which … emits any air pollutant which

may reasonably be anticipated to cause or contribute to impairment of visibility in

any such area, shall procure, install, and operate, as expeditiously as practicable …



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the best available retrofit technology.” 1 42 U.S.C. § 7491(b)(2)(A) (emphasis

added).

        EPA’s implementing regulations, which were promulgated in 1980, define

such sources as, “any of the following stationary sources of air pollutants,

including any reconstructed source, which was not in operation prior to August 7,

1962, and was in existence on August 7, 1977 . . .” 40 C.F.R. § 51.301 (def’ns of

“Existing stationary facility” and “BART-eligible facility”); 45 Fed. Reg. 80,084

(Dec. 2, 1980); see Nat’l Parks 803 F.3d at 154 (“a stationary source . . . is BART-

eligible if it: (1) was in existence on August 7, 1977, but not in operation prior to

August 7, 1962 . . .”).

        In 2005, EPA promulgated “BART Guidelines” to assist states in making

BART determinations for their sources. 70 Fed. Reg. 39,104 (July 6, 2005). The

BART Guidelines explain how states should identify the start-up dates of their

sources, including what it means for a source to be “in existence on August 7,

1977,” and “in operation before August 7, 1962.” 40 C.F.R. pt. 51, app. Y, §

II.A.2. EPA and States have applied the regulatory definition at 40 C.F.R. §




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    Best available control technology is commonly referred to as “BART.”



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51.301 and the instructions in the BART Guidelines in dozens, if not hundreds, of

administrative actions.2

II.   Procedural History and the Panel Decision

      The Refinery, consisting of a marine terminal and refinery assets, was

initially constructed in 1966 and operated by Hess Oil. The Refinery was

subsequently operated by HOVENSA until 2012. HOVENSA declared

bankruptcy in September 2015. The Refinery was part of HOVENSA’s bankruptcy

estate and was purchased by Limetree Bay Terminals, LLC (“LBT”) in 2016. In

November 2018, LBT transferred the refinery assets to a separate entity, Limetree

Bay Refining, LLC (“Limetree Bay”). LBT retained the marine terminal.

      Limetree Bay and related entities (but not LBT) declared bankruptcy in July

2021. Petitioner Port Hamilton Refining and Transportation, LLC (“Port

Hamilton”), and another company that is not a party to this case, purchased the

Refinery from Limetree Bay’s bankruptcy estate in January 2022.

      A month before purchasing the Refinery, Port Hamilton inquired whether

the Refinery would require a PSD Permit to resume petroleum refining. Based on


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  For example, in 2012, EPA promulgated a federal implementation plan for the
Virgin Islands that determined multiple emission units at the Refinery were BART-
eligible because “[t]he emission unit(s) began operation after August 6, 1962, and
were still in existence on August 7, 1977.” 77 Fed. Reg 37,842, 37,842 (June 25,
2012).



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information subsequently provided by Port Hamilton, in November 2022 EPA

issued a final determination that a PSD Permit would be required (“PSD

Determination”). Port Hamilton timely challenged the PSD Determination. Oral

argument was held in St. Croix on May 24, 2023, and a slip opinion issued on July

25, 2023.

      In its opinion, the Court held that EPA exceeded its authority under the

applicable provision of the CAA, 42 U.S.C. § 7475. Slip Op. at 13-17. The Court

concluded that the plain text of Section 7475 limits application of the PSD program

to newly constructed or modified facilities, and foreclosed EPA’s interpretation

that Section 7475 requires PSD permits for certain facilities that restart after

extended periods of shutdown. Id. at 13. The Court explained that the “type of

construction that requires a PSD permit is construction commenced after 1977 that

brings a major emitting facility into existence” or that modifies a facility. Id. at 15-

16.

      The Court included within its reasoning a comparison of Section 7475 to

Section 7491:

            A different provision of the CAA confirms that Congress
            chose not to apply the PSD program to shutdown facilities
            upon their restart. Section 7491 applies to facilities “in
            existence on August 7, 1977, but which ha[ve] not been in
            operation for more than fifteen years.” Id. § 7491(b)(2)(A).
            Under that provision, if the out-of-operation facility emits air
            pollutants that impair visibility, the facility must



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          install “the best available retrofit technology ... for
          controlling emissions ... for the purpose of eliminating or
          reducing” visibility impairment. Id. These visibility
          protections reach—in explicit terms—the same sort of
          circumstances that EPA contends trigger the need for a PSD
          permit. That is, § 7491 applies to long out-of use facilities
          or, as EPA might call them, “shutdown” facilities.

Slip Op. at 14-15. The Court then concluded that because “Congress chose not to

include such explicit terms in § 7475,” “[w]e must assume . . . that § 7475 means

what it says: stationary sources of air pollution must obtain a PSD permit if they

are constructed or modified after 1977.” Id. at 15.

                                   ARGUMENT

I.    The Court’s Discussion of 42 U.S.C. § 7491 is Incorrect and Inconsistent
      with Prior Opinions of this Court and Other Courts of Appeals, As Well
      As EPA’s Long-Standing Implementing Regulations.

      EPA respectfully requests that the Court revise the opinion to eliminate the

discussion of Section 7491 and its comparison to Section 7475. The Court’s

reading of Section 7491 is incorrect, and as a result, its comparison of Section

7491 to Section 7475 is inapt. As discussed below, the Court’s reading of Section

7491 contradicts the Court’s prior opinion in National Parks, 803 F.3d at 154 as

well as EPA’s long-standing regulations implementing the Regional Haze Program

at 40 C.F.R. § 51.301. The Court’s discussion of Section 7491 is not outcome-

determinative, and thus, EPA requests removal of the discussion without any

alteration of the judgment.



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      The Court’s opinion concludes that Section 7491 explicitly regulates

facilities that have been “long out-of-use” or “shutdown” for 15 years or more.

Slip Op., at 14-15. From that conclusion, the opinion goes on to state that, “Had

Congress intended for the PSD program to apply to shutdown facilities, it would

have used the clear language it included in 7491.” Slip Op., at 15.

      EPA respectfully submits, however, that 42 U.S.C. § 7491(b)(2)(A) does not

address “shutdown facilities” at all. Specifically, 42 U.S.C. § 7491(b)(2)(A) in

pertinent part applies to a major stationary source “in existence on August 7, 1977,

but which has not been in operation for more than fifteen years as of such date”

(emphasis added). In the slip opinion in this case, however, the Court appears to

overlook the pertinent limiting phrase “as of such date,” which informs the proper

construction of Section 7491(b)(2)(A).3

      In its previous decision in National Parks, which reviewed EPA’s approval

of certain BART determinations made by the State of Pennsylvania, this Court

correctly described Section 7491(b)(2)(A) as applying to facilities “in existence on

August 7, 1977, but not in operation prior to August 7, 1962.” National Parks, 803




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 As set forth in EPA’s long-standing implementing regulations, a “BART-eligible
source” is one which, “was not in operation prior to August 7, 1962, and was in
existence on August 7, 1977” 40 C.F.R. § 51.301.



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F.3d at 154 (citing 40 C.F.R. § 51.301).4 This proper reading takes into account

the limiting clause “as of such date,” which modifies the immediately preceding

phrase “for more than fifteen years” consistent with the rule of the last antecedent.

See e.g., Lockhart v. United States, 577 U.S. 347, 351-52 (2016) (quoting Barnhart

v. Thomas, 540 U.S. 20, 26 (2003)). This reading is both consistent with the plain

language of Section 7491(b)(2)(A) and with EPA’s implementing regulation 40

C.F.R. § 51.301, which the National Parks decision applied. National Parks, 803

F.3d at 154.

      The slip opinion’s mistaken reading of Section 7491, if not corrected, could

cause confusion and disrupt EPA’s implementation of the Regional Haze Program

by causing facilities to question whether the program applies to facilities that have

not been shut down for 15 years or more. EPA therefore respectfully requests that


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  Every other U.S. Circuit Court of Appeals to consider the issue has opined
similarly. See Nat’l Parks Conservation Ass’n v. EPA, 788 F.3d 1134, 1139 (9th
Cir. 2015) (“The Act further provides that all implementation plans must require
installation of the . . . BART . . . to reduce emissions from certain emission sources
that were operational between 1962 and 1977.”); Am. Corn Growers Ass’n v. EPA,
291 F.3d 1, 5 (D.C. Cir. 2002) (“Under § 169A of the Act, each state must review
all BART-eligible sources – meaning all major stationary sources built between
August 1962 and August 1977.”); see also Sierra Club v. EPA, 939 F.3d 649, 656
(5th Cir. 2019) (same); Phoenix Cement Co. v. EPA, 647 F. Appx. 702, 705 (9th
Cir. 2016); St. Marys Cement Inc. v. EPA, 782 F.3d 280, 283 (6th Cir. 2015)
(same); WildEarth Guardians v. EPA, 770 F.3d 919, 935 (10th Cir. 2014) (same);
North Dakota v. EPA, 730 F.3d 750, 756 (8th Cir. 2013) (same).



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the Court excise from the opinion the language that applies that mistaken reading.

Specifically, EPA requests that that the Court remove (1) the paragraph that spans

pages 14-15 of the slip opinion, which begins “A different provision…”; (2) the

paragraph that immediately follows it, which begins “But Congress chose…,” and

(3) the sentence at page 16 of the slip opinion, which begins “The absence of such

language is especially notable . . .”

II.   Three Additional Corrections to Misstatements Are Requested to Avoid
      Unnecessary Confusion.

      EPA also respectfully requests correction of certain minor misstatements in

the background portions of the opinion. Although all of these minor errors are

dicta, they have the potential to cause unnecessary confusion if they remain in the

published opinion.

      First, EPA requests substitution of the phrase “Nonattainment New Source

Review” for the phrase “New Source Performance Standards” on the first and

second lines of the first full paragraph on page 7 of the slip opinion, where the

court is providing background information on the Nonattainment New Source

Review program. Relatedly, EPA requests substitution of the acronym “NNSR”

for the acronym “NSPS” where that acronym appears in two places in this

paragraph. The phrase “New Source Performance Standards” and the

accompanying acronym NSPS are generally understood to refer to an entirely

different statutory program that was not at issue in this case. Specifically, this

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phrase is used to refer to emission standards for categories of new sources

established under 42 U.S.C. § 7411. See West Virginia v. EPA, 142 S. Ct. 2587,

2600-01 (2022). The phrase “Nonattainment New Source Review” and the

acronym NNSR is generally used and understood to refer to the program under 42

U.S.C. § 7503 that is being addressed in the relevant paragraph on Page 7. See

United States v. EME Homer City Generation, L.P., 727 F.3d 274, 279 (3d Cir.

2013). Making these requested corrections in the published opinion would reduce

the potential for confusion between the NSPS and NNSR programs.

      Second, EPA requests deletion of the word “late” in the second sentence of

the second full paragraph on page 11 of the slip opinion, or alternatively,

substitution of the word “late” with the word “early.” The sentence in question

presently reads: “In late May, the Refinery again emitted excessive sulfur dioxide,

prompting closure of the same three schools.” The administrative record, however,

establishes that serious incidents occurred at the Refinery in early May on May 5,

6, 7 and 12, 2021. See EPA 463-68, ¶¶ 69-89 (U.S. Appendix, Volume II).

      Third, EPA requests substitution of the word “third” with the word

“second,” on the second line of the first full paragraph of page 12 of the slip

opinion Prior to 2021, the Refinery had been put up for sale only one time before,

when it was purchased from a bankruptcy estate by LBT in 2016. Thus, the




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sentence in question as corrected should read, “In July 2021, just two months later,

Limetree filed for bankruptcy, and the Refinery was put for sale a second time.”

      Correcting the latter two factual misstatements relating to the history of the

refinery is particularly desirable in view of the fact that there is ongoing separate

litigation concerning the Refinery and its history. As set forth in the Statement of

Related Cases in EPA’s merits brief, related cases include United States v.

Limetree Bay Refining LLC and Limetree Bay Terminals LLC, No. 1:21-cv-00264

(D.C. U.S.V.I) and United States and United States Virgin Islands v. HOVENSA

L.L.C., No. 1:11-cv-00006 (D.C. U.S.V.I.).

                                   CONCLUSION

   For the foregoing reasons, this petition for panel rehearing should be granted.

                                        Respectfully submitted,

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DATED: September 29, 2023                  /s/ Heather E. Gange
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                   CERTIFICATE AS TO WORD COUNT

     I certify that the foregoing PETITION FOR PANEL REHEARING is
proportionately spaced, has a typeface of Garamond, 14 points, and contains a total
of 2784 words, including footnotes, quotations, certifications, and other portions
ordinarily exempted from word counts. I have relied on Microsoft Word’s word
count feature for the calculation.


                         CERTIFICATE OF SERVICE

     I certify that on this 29th day of September 2023, the foregoing PETITION
was filed electronically via the Court’s CM/ECF system, which effected service
upon counsel of record.

/s/ Heather E. Gange



Dated: September 29, 2023

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